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David E. Gottlieb
dgottlieb@wigdorlaw.com
                                                       The extension is granted. The conference, currently
January 27, 2021                                       scheduled for January 29, 2021, is hereby adjourned
                                                       until February 12, 2021, at 10am.
VIA ECF
                                                       So ordered,
The Honorable Alvin K. Hellerstein                     /s/
United States District Court                           Alvin K. Hellerstein
Southern District of New York                          1/28/21
500 Pearl Street, Room 1050
New York, NY 10007

       Re:     Cojocaru, et al. v. City University of New York, et al.; No. 19-cv-5428 (AKH)

Dear Judge Hellerstein:

We represent Plaintiffs in the above-referenced matter and write jointly with Defendants CUNY,
Marcus, Spunt and Dominguez to respectfully request an additional one-week extension, from
today through February 3, 2021, to finalize the settlement agreement in this matter. The parties
are working cooperatively and diligently to resolve the remaining open items and finalize the
documentation for execution and submission. This is the second request for this extension.

We thank the Court for its attention to this matter.

Respectfully submitted,


David E. Gottlieb

cc:    All Counsel of Record (via ECF)
